                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division

JASON KESSLER
and NATIONAL SOCIALIST
MOVEMENT and TRADITIONALIST
WORKER’S PARTY,

                        Plaintiff,
v.                                                                Civil Action No. 3:18CV00107

CITY OF CHARLOTTESVILLE, VIRGINIA,
AL THOMAS; BECKY
CRANNIS-CURL,

                        Defendants.


                                      MOTIONS TO DISMISS

        Comes now Defendant, the City of Charlottesville, Virginia (the “City”), by counsel, and

moves the Court pursuant to Rule 12(b)(1) F.R.C.P. to dismiss the Amended Complaint by National

Socialist Movement (“NSM”) and Traditionalist Worker’s Party (“TWP”) since they lack standing

under Article III of the U.S. Constitution necessary to afford the Court subject matter jurisdiction, and

further pursuant to Rule 12(b)(6) F.R.C.P. moves to dismiss all Plaintiffs’ Amended Complaint

against the City since Plaintiffs fail to state a plausible claim under Monell v. Dep’t of Social Services,

436 U.S. 658, 690-691 (1978) of a First or Fourteenth Amendment violation attributable to the City.

Further, the Amended Complaint must be dismissed since it fails to allege against the City a municipal

“policy or custom” established by the City individual with final policy making authority under

Virginia law.

        A brief in support of these Motions is filed this date.

                            CITY OF CHARLOTTESVILLE, VIRGINIA
                                        By Counsel




Case 3:18-cv-00107-NKM-JCH Document 29 Filed 02/19/19 Page 1 of 2 Pageid#: 92
s/Richard H. Milnor
Richard H. Milnor, Esquire (VSB #14177)
John W. Zunka, Esquire (VSB #14368)
Zunka, Milnor & Carter, Ltd.
414 Park Street
P O Box 1567
Charlottesville VA 22902
Telephone: (434) 977-0191
Facsimile: (434) 977-0198
rmilnor@zmc-law.com
Counsel for the City of Charlottesville




                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 19th day of February, 2019, I electronically filed the foregoing

Consent Motion with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to all counsel of record.




                                           s/Richard H. Milnor




                                                    2
Case 3:18-cv-00107-NKM-JCH Document 29 Filed 02/19/19 Page 2 of 2 Pageid#: 93
